Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 1 of 30 Pageid#: 2415




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                  HARRISONBURG DIVISION

  JANE D. ROBERTS, Administrator of the            )
   Estate of Anthony Wade Galloway,                )
                                                   )
                 Plaintiff,                        )
                                                   )      Civil Action No. 5:14-cv-00040
   v.                                              )
                                                   )      By: Elizabeth K. Dillon
  SUNBELT RENTALS, INC., et al.,                   )          United States District Judge
                                                   )
                                                   )
                 Defendants.                       )

                                    MEMORANDUM OPINION

          In this personal injury case, plaintiff Jane Roberts and defendants Sunbelt Rentals, Inc.,

  and David Church each move in limine to exclude certain testimony, evidence, and argument

  from trial. Roberts also moves in limine for judicial notice of certain motor-vehicle statutes,

  regulations, and manuals. The court has already ruled on some of the motions and now rules on

  the rest.

                                         I. BACKGROUND

          On August 21, 2012, Galloway and Church were involved in a motor-vehicle accident on

  a four-lane section of Route 11 northbound in Frederick County, Virginia. Galloway was driving

  a moped, and Church was driving a rollback truck owned by his employer, Sunbelt. Moments

  before the accident, Church turned right onto Route 11 from Pactiv Way. When Church made

  the turn, Galloway was stopped at a red light on Route 11 where it intersects with Pactiv Way.

  As Church proceeded on Route 11, Galloway ran the red light, crossed Pactiv Way, and came up

  behind Church in the far-right lane of Route 11. Not seeing Galloway, Church then attempted a

  right turn into a gas station. To make the turn, he first swung left into the two center lanes. He
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 2 of 30 Pageid#: 2416




  then cut back across those lanes and entered the far-right lane. As he crossed the far-right lane,

  the passenger side of his truck collided with Church’s moped. Church was seriously injured in

  the accident.

         To recover for his injuries, Galloway brought this suit against Church and Sunbelt,

  alleging that Church was negligent in attempting to make a right turn into the gas station from

  the center lanes of Route 11 and that his negligence was the cause of the accident. In response,

  Church and Sunbelt assert that Galloway was negligent in running the red light at the Pactiv Way

  intersection and that his negligence caused or contributed to the accident. The case was

  originally set for trial beginning May 26, 2015. On May 2, however, Galloway unexpectedly

  died, and so the court continued the trial generally. Roughly two and a half months later,

  Roberts, the administrator of Galloway’s estate, was substituted as plaintiff. The case is now set

  for trial starting May 16, 2016.

         In preparation for trial, the parties have filed various motions in limine, asking the court

  to exclude certain testimony, evidence, and argument from trial. Roberts also wants the court to

  take judicial notice of particular motor-vehicle statutes, regulations, and manuals. The court held

  a hearing on the motions on September 30, 2015, and ruled on some of them from the bench. It

  will not revisit those rulings here. Rather, it will address only those motions that it took under

  advisement.

                                     II. ROBERTS’S MOTIONS

  A. Motion to Exclude Expert Paul Guthorn’s Testimony

         Roberts moves to exclude all or part of the testimony of Sunbelt and Church’s expert

  Paul Guthorn on two grounds. First, she argues that all of Guthorn’s testimony should be

  excluded because his report does not satisfy the requirements of Federal Rule of Civil Procedure



                                                    2
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 3 of 30 Pageid#: 2417




  26(a). (Pl.’s Mot. to Exclude Paul Guthorn 1–10, Dkt. No. 42.) And second, in the alternative,

  she contends that part of his testimony should be excluded because it does not meet the demands

  of Federal Rule of Evidence 702. (Pl.’s First Mot. in Limine 15–25, Dkt. No. 61.)

         The court considers each ground in turn.

         1. Sufficiency of Guthorn’s Report Under Rule 26(a)

         Pursuant to Rule 26(a), a party must disclose the identity of any witnesses that it may use

  as an expert at trial. Fed. R. Civ. P. 26(a)(2)(A). “[I]f the witness is one retained or specifically

  employed to provide testimony in the case,” then he must provide a signed, written report. Fed.

  R. Civ. P. 26(a)(2)(B). That report must contain:

                (i)      a complete statement of all opinions the witness will express and
         the basis and reasons for them;

                 (ii)    the facts or data considered by the witness in forming them;

                 (iii)   any exhibits that will be used to summarize or support them;

                (iv)    the witness’s qualifications, including a list of all publications
         authored in the previous 10 years;

                (v)      a list of all other cases in which, during the previous 4 years, the
         witness testified as an expert at trial or by deposition; and

                (vi)    a statement of the compensation to be paid for the study and
         testimony in the case.

  Id.

         A party must disclose its experts and their reports “in the sequence that the court orders.”

  Fed. R. Civ. P. 26(a)(2)(C). If a party fails to make a timely and complete disclosure of an

  expert, then it may be subject to a range of sanctions. Fed. R. Civ. P. 16(f), 37(c). The available

  sanctions include the exclusion of the expert’s testimony. Fed. R. Civ. P. 37(b)(2)(A)(ii),

  37(c)(1).


                                                    3
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 4 of 30 Pageid#: 2418




         Here, Sunbelt and Church disclosed Guthorn and his report before the deadline set forth

  in the court’s amended scheduling order (January 12, 2015). Nevertheless, Roberts contends that

  Guthorn’s testimony should be excluded because his report does not meet the requirements of

  Rule 26(a). (Pl.’s Mot. to Exclude Paul Guthorn 10.)

         Guthorn is an expert in accident reconstruction. In his 12-page report, he offers several

  opinions on the accident, including the speeds and positions of Church’s and Galloway’s

  vehicles. (Report of Paul Guthorn 11, Dkt. No. 42-1.) To prepare his report, Guthorn used PC-

  Crash, a computer simulation program. (Id. at 9.) He took data that he collected during his

  investigation of the accident (or data collected by other experts) and entered them into the

  program. (Id.) With those data, the program made various calculations and created a series of

  simulations of the accident. (Id.) The simulations feature different views of the accident, some

  of which purport to depict Church’s and Galloway’s respective fields of vision before the

  accident. (Id.)

         Roberts contends that Guthorn’s report is deficient because “it is devoid of data.” (Pl.’s

  Mot. to Exclude Paul Guthorn 6.) In particular, she submits that Guthorn does not provide the

  data that he relied on to determine the vehicles’ speeds and positions leading up to the accident.

  (Id.) Nor does he give the data that he entered into PC-Crash to create the simulations of the

  accident. (Id.) She also contends that he does not explain the calculations that PC-Crash made

  in creating those simulations. (Id.)

         In response to Roberts’s concerns about the sufficiency of Guthorn’s report, Sunbelt and

  Church made several supplemental disclosures. At the September 30, 2015 hearing, however,

  Roberts argued that Sunbelt and Church had still not disclosed all of the data underlying

  Guthorn’s opinions. Sunbelt and Church disagreed, but conceded that it had produced some data



                                                   4
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 5 of 30 Pageid#: 2419




  from an electronic scanner in a proprietary format that Roberts may not have been able to access.

  The court thus directed the parties to confer and to advise it by letter as to whether Sunbelt and

  Church have in fact disclosed all of the data that Guthorn relied on in forming his opinions and

  whether Roberts is able to access those data.

           The parties complied with the court’s request, submitting a joint letter. In their part,

  Sunbelt and Church first make a confession: they have not actually provided the scan data and

  that they cannot provide those data in a format that Roberts can access without a proprietary

  program. But Sunbelt and Church contend that they have provided the only data that really

  matters—the location data. Location data, Sunbelt and Church explain, are the data of the

  positions of the vehicles in the simulations, which were provided to Roberts as GPS coordinates

  in intervals of 1/30th of a second. With those coordinates, Sunbelt and Church submit, Roberts’s

  experts can compare Guthorn’s positioning of the vehicles at any given time up to the accident

  with their own positioning.

           In her part of the letter, Roberts renews her contention that Sunbelt and Church have still

  not provided all of the data that Guthorn used in reaching his opinions, in particular, the data that

  he entered into PC-Crash to create the simulations. Hence, she asks the court to exclude

  Guthorn’s testimony in its entirety.

           By their own admission, Sunbelt and Church failed to disclose all of the data underlying

  Guthorn’s opinions in a timely manner. Since there was a scheduling order in place at the time

  of Sunbelt and Church’s disclosure violation, the court will apply Rule 16(f) and its test to

  determine whether sanctions are appropriate.1 See Thompson v. United States, No. 7:14-cv-

  00092, 2015 U.S. Dist. LEXIS 66433, at *9–10 (W.D. Va. May, 21, 2015) (explaining that Rule

           1
            While the court chooses to apply Rule 16(f) here, it would nonetheless reach the same result if it were to
  apply Rule 37(c) instead, since the tests for the two rules are substantially the same. Pac. AG Group v. H.
  Ghesquiere Farms, Inc., No. 5:05-cv-809, 2007 U.S. Dist. LEXIS 102328, at *8–9 (E.D.N.C. Jan. 19, 2007).

                                                            5
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 6 of 30 Pageid#: 2420




  16(f), not Rule 37(c), applies “[w]hen a dispute arises concerning violation of expert disclosure

  obligations pursuant to a court approved discovery plan” (alteration in original) (quoting Scott v.

  Holz-Her, U.S., Inc., No. 6:04-cv-00068, 2007 U.S. Dist. LEXIS 79552, at *3–4 (W.D. Va. Oct.

  26, 2007))).

         Under Rule 16(f), a district court has “wide latitude in imposing sanctions on parties who

  fail to comply with pretrial orders and procedures.” World Wide Demil, LLC v. Nammo, 51 F.

  App’x 403, 407 n.4 (4th Cir. 2002). Moreover, it enjoys broad discretion to decide whether an

  expert should be excluded for a disclosure violation. See Campbell v. United States, 470 F.

  App’x 153, 156 (4th Cir. 2012).

         In determining whether to impose sanctions under Rule 16(f), a district court considers

  four factors: “(1) the reason for failing to name the witness [or failing to complete expert

  reports]; (2) the importance of the testimony; (3) potential prejudice in allowing the testimony;

  and (4) the availability of a continuance to cure such prejudice.” Scott, 2007 U.S. Dist. LEXIS

  79552, at *5 (alteration in original) (quoting Rambus, Inc. v. Infineon Techs. AG, 145 F. Supp. 2d

  721, 736 (E.D.Va. 2001)).

         Upon considering these factors, the court determines that exclusion of Guthorn is not

  warranted. To be sure, Sunbelt and Church’s reasons for failing to timely disclose all of the data

  that Guthorn relied on in forming his opinions are weak. But Guthorn’s testimony is pivotal to

  Sunbelt and Church’s defense against Roberts’s claim. The testimony supports Sunbelt and

  Church’s version of events, including that Galloway’s actions caused or contributed to the

  accident. The testimony also rebuts the testimony of Roberts’s experts who offer a different

  version of events.




                                                   6
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 7 of 30 Pageid#: 2421




         Moreover, allowing Guthorn to testify will result in little to no prejudice to Roberts, and

  that prejudice, if any, has been minimized by Sunbelt and Church’s supplemental disclosures,

  which were made almost a year ago. This is not a case where a party has sprung a new opinion

  on another party only days before trial. Guthorn has not changed his opinions since he was

  disclosed. And though Roberts finds fault with his report, it is far from the sketchy or vague

  one- or two-page reports that other courts have thrown out under Rule 26(a). See, e.g., Campbell

  v. United States, No. 3:10BCV363, 2011 U.S. Dist. LEXIS 12305, at *5–13 (E.D. Va. Feb. 8,

  2011), aff’d, 470 F. App’x 153 (4th Cir. 2012) (excluding expert who provided a one-page report

  concluding without explanation that hospital officials deviated from the standard of care). On

  the contrary, Gurthorn’s report runs 12 pages, and it contains much explanation of the data he

  gathered and the conclusions he reached based on those data. Indeed, it appears to be just as

  complete as some of the reports from Roberts’s experts.

         Moreover, while Sunbelt and Church cannot produce the scan data in a format that

  Roberts can access without a proprietary program, she fails to explain why that data is important

  when she has the location and other data. What matters, after all, is that she has sufficient data

  that she can rebut Guthorn’s opinions. And it seems that the data that Sunbelt and Church have

  provided are enough for her to do just that, for two of her experts have taken those data and used

  them to produce a rebuttal report, challenging Guthorn’s opinions. (Rebuttal Report of Scott

  Marsh and Matthew Moore 1–3, Dkt. No. 46-3.) Indeed, Roberts’s experts have used Guthorn’s

  data and simulations to compare their positioning of Church’s and Galloway’s vehicles with

  Guthorn’s positioning. (Attachs. to Rebuttal Report of Scott Marsh and Matthew Moore 1–8,

  Dkt. No. 46-4.) Those same experts have also compared their estimation of the vehicles’ speeds

  with Guthorn’s. (Rebuttal Report of Scott Marsh and Matthew Moore 1–2.)



                                                   7
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 8 of 30 Pageid#: 2422




         Accordingly, the court will allow Guthorn to testify at trial. But it will also permit

  Roberts to conduct voir dire on him as an additional remedy to any prejudice she may have

  suffered from Sunbelt and Church’s disclosure violation.

         2. Admissibility of Guthorn’s Testimony Under Rule 702

         Rule 702 governs the admissibility of expert testimony. It states:

                 A witness who is qualified as an expert by knowledge, skill, experience,
         training, or education may testify in the form of an opinion or otherwise if:

                 (a)     the expert’s scientific, technical, or other specialized knowledge
         will help the trier of fact to understand the evidence or to determine a fact in
         issue;

                 (b)     the testimony is based on sufficient facts or data;

                 (c)     the testimony is the product of reliable principles and methods; and

                 (d)     the expert has reliably applied the principles and methods to the
         facts of the case.

  Fed. R. Evid. 702.

         Under this rule, a district court acts as gatekeeper to ensure that “any and all scientific

  testimony or evidence admitted is not only relevant, but reliable.” Daubert v. Merrell Dow

  Pharms., 509 U.S. 579, 588 (1993). “[T]he test of reliability is flexible,” however, “and ‘the law

  grants a district court the same broad latitude when it decides how to determine reliability as it

  enjoys in respect to its ultimate reliability determination.’” United States v. Wilson, 484 F.3d

  267, 274 (4th Cir. 2007) (quoting Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 141–42

  (1999)). The test will thus vary depending on the type of expert testimony. Id. If the proffered

  testimony is scientific in nature, then the district court “must conduct ‘a preliminary assessment

  of whether the reasoning or methodology underlying the testimony is scientifically valid and of

  whether that reasoning or methodology properly can be applied to the facts in issue.’” Cooper v.


                                                    8
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 9 of 30 Pageid#: 2423




  Smith & Nephew, Inc., 259 F.3d 194, 199 (4th Cir. 2001) (quoting Daubert, 509 U.S. at 592–93).

  If, on the other hand, the proffered testimony is experiential in nature, then the district court must

  “require that [the] witness explain how [his] experience leads to the conclusion reached, why

  [his] experience is a sufficient basis for the opinion, and how [his] experience is reliably applied

  to the facts.” Wilson, 484 F.3d at 274 (quoting Fed. R. Evid. 702 advisory committee’s note to

  2000 amendments). The party proffering the expert testimony must establish its admissibility by

  a preponderance of proof. Cooper, 259 F.3d at 199.

         Here, Roberts argues that Guthorn’s simulations and several of his opinions do not meet

  the requirements of Rule 702 and should therefore be excluded. The court addresses first the

  simulations and then the opinions.

         a. Simulations

         As noted earlier, Guthorn created various simulations of the accident using PC-Crash.

  Roberts contends that those simulations should be excluded because Sunbelt and Church have

  failed to provide the data that Guthorn entered into the program to create the simulations, and so

  it is impossible for her and her experts to test his methodology. (Pl.’s First Mot. in Limine 15–

  17.) Sunbelt and Church respond that the simulations are admissible demonstrative and

  substantive evidence because they have adequately disclosed the data that Guthorn relied on to

  make the simulations, and because those data are sufficient to support the simulations. (Defs.’

  Mem. in Opp’n to Pl.’s First Mot. in Limine 11, Dkt. No. 69.)

         The court believes that the simulations meet the requirements of Rule 702. As explained

  above, Sunbelt and Church have adequately disclosed the data that Guthorn relied on to create

  the simulations, and the court thinks that those data are sufficient to support them. Further,

  courts around the country have found that the use of PC-Crash to analyze an accident is a reliable



                                                    9
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 10 of 30 Pageid#: 2424




  methodology, see, e.g., Moon v. United States, No. 08 Civ. 1990, 2011 U.S. Dist. LEXIS 4765,

  at *16 (S.D.N.Y. Jan. 13, 2011) (collecting cases), and Roberts fails to convince this court

  otherwise here. The court will therefore allow the simulations, and Roberts will have a chance to

  challenge them at trial through “vigorous cross-examination” and “contrary evidence.” Daubert,

  509 U.S. at 596.

         b. Opinion 1

         Guthorn’s first opinion is that “Galloway and his moped collided with the right front of

  [Church’s] truck.” (Report of Paul Guthorn Report 11.) Roberts argues that this opinion should

  be excluded because the jury is capable of viewing the demonstrative evidence and determining

  for itself what occurred in the accident. (Pl.’s First Mot. in Limine 17.) Sunbelt and Church

  counter that the opinion is admissible to rebut one of Roberts’s experts who opines that Church’s

  truck collided with Galloway’s moped, not the other way around. (Defs.’ Mem. in Opp’n to Pl.’s

  First Mot. in Limine 12.)

         The court agrees with Sunbelt and Church. Roberts has designated an expert who says

  that Church’s truck hit Galloway’s moped. (Report of Scott Turner 24, Dkt. No. 59-2.) So

  Sunbelt and Church may rebut that expert through Guthorn whose opinion on the matter appears

  to be based on many of the same materials that Roberts’s expert used to arrive at his contrary

  opinion. (Compare Report of Paul Guthorn 1, with Report of Scott Turner 1, 4.) The court will

  thus allow Guthorn’s opinion 1.

         c. Opinion 2

         Guthorn’s second opinion is that at the time of the accident, “Galloway was travelling at

  approximately 28 mph and the truck was travelling at approximately 13 mph.” (Report of Paul

  Guthorn Report 11.) Roberts contends that this opinion should be excluded for two reasons.



                                                  10
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 11 of 30 Pageid#: 2425




  First, as two of her experts explain, it is difficult to obtain an accurate speed in terms of miles per

  hour over a short period; thus, it is better to provide a range of speeds, as opposed to a specific

  speed. (Pl.’s First Mot. in Limine 18.) And second, the speeds of the moped and truck at the

  time of the accident are irrelevant to the issues of either Church’s negligence or Galloway’s,

  since the parties agree that the applicable speed limit was 35 mph. (Id.)

         In response, Sunbelt and Church argue that opinion 2 is admissible because it is based on

  a reliable methodology (distance travelled divided by time), and because it is supported by

  sufficient data (a security video of the accident and a survey of the place of the accident). (Defs.’

  Mem. in Opp’n to Pl.’s First Mot. in Limine 12; Defs.’ Mem. in Opp’n to Pl.’s Mot. to Exclude

  Paul Guthorn 4, Dkt. No. 46.) They further contend that the opinion is relevant because it

  contradicts Galloway’s testimony that he was going only 18–20 mph at the time of the accident

  and that his moped tops out at just 25–27 mph, and because it corroborates the testimony of

  Robert and Kristin Underwood who say that Galloway appeared to be trying to pass Church’s

  truck when the accident happened. (Defs.’ Mem. in Opp’n to Pl.’s First Mot. in Limine 13.)

         The court agrees with Sunbelt and Church. It seems that Guthorn used the same

  methodology and data to reach his opinion on the speeds of the vehicles as were used by

  Roberts’s experts to form their opinion on the matter. (Compare Report of Paul Guthorn 8–10,

  with Rebuttal Report of Scott March and Matthew Moore 1–3.) That her experts disagree with

  Guthorn does not make his opinion inadmissible. Moreover, Guthorn’s opinion is clearly

  relevant to the issues at hand. Even if Galloway was not speeding at the time of the accident, the

  fact that he was accelerating immediately beforehand lends support to Sunbelt and Church’s

  claim that he was trying to pass Church’s truck. Accordingly, the court will allow Guthorn’s

  opinion 2.



                                                    11
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 12 of 30 Pageid#: 2426




          d. Opinions 5 and 6

          Guthorn’s fifth opinion is that if Galloway had stopped at the Pactiv Way intersection for

  a full minute, as opposed to just 37 seconds, then Church would have completed his turn into the

  gas station and the accident would not have occurred. (Report of Paul Guthorn Report 11.) And

  Guthorn’s sixth opinion is that the accident also would not have occurred if Galloway had waited

  until the light had turned green. (Id.)

          Roberts submits that these opinions are inadmissible because Guthorn provides no factual

  support for them in his report. (Pl.’s First Mot. in Limine 19–20.) She also maintains that to the

  extent the opinions are based on the security video of the accident or the simulations, the jury is

  capable of viewing those materials and reaching its own conclusion as to what would have

  happened if Galloway had waited at the light longer than he did. (Id. at 19.) Lastly, she

  contends that Guthorn is not an expert on driving commercial motor vehicles, and so he lacks the

  requisite knowledge to form an opinion on how long it would have taken Church to complete the

  turn into the gas station. (Id. at 20.)

          In response, Sunbelt and Church first argue that Guthorn’s opinions 5 and 6 are

  admissible because they are “proper expert testimony.” (Defs.’ Mem. in Opp’n to Pl.’s First

  Mot. in Limine 13.) According to Sunbelt and Church, the “opinions are not the province of the

  jury, as the locations of the Truck throughout each moment requires expert testimony.” (Id.)

  Sunbelt and Church further submit that the opinions are admissible because they are sufficiently

  supported: “Guthorn’s animations include[] a demonstration of the facts and data underlying

  [the] opinion[s].” (Id. at 13–14.)

          The court agrees with Sunbelt and Church. In his report, Guthorn states that “[b]ased on

  the amount of time shown in the video,” [he] estimates that it would have taken Church another



                                                   12
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 13 of 30 Pageid#: 2427




  11 or 12 seconds, for a total time of approximately 22 to 23 seconds[] to reach the service station

  pump island.” (Report of Paul Guthorn Report 10.) Guthorn also states that he was able to

  calculate the speed of Church’s truck at the time of the accident from the video. (Id. at 1, 10.)

  The court believes that those data, combined with the data from the place of the accident, are

  sufficient to support Guthorn’s opinions as to what would have happened had Galloway waited

  at the light longer and the corresponding simulations. The court further thinks that the opinions

  will help the jury determine what role, if any, Galloway’s running of the red light played in the

  accident. It will thus allow Guthorn’s opinions 5 and 6.

         e. Opinion 10

         Guthorn’s tenth opinion is that “Galloway’s speed was far greater than the speed value he

  provided in his disposition testimony.” (Report of Paul Guthorn 11.) Roberts contends that

  Guthorn should be prohibited from offering this opinion because it was formed without the use

  of expertise. (Pl.’s First Mot. in Limine 18.) Further, she submits, the opinion “provides no

  assistance to the trier of fact” and “invades the exclusive purview of the jury by commenting on

  the credibility of a witness.” (Id.)

         Sunbelt and Church counter that Guthorn’s opinion 10 is admissible because Guthorn is

  simply “analyzing the physical evidence available, comparing it to [Galloway’s] version of

  events, and opinion on whether [Galloway’s] account is consistent with the physical evidence.”

  (Defs.’ Mem. in Opp’n to Pl.’s First Mot. in Limine 14.)

         The court agrees with Roberts. Expert testimony is not needed for the jury to determine

  that Guthorn’s estimation of Galloway’s speed at the time of the accident is “far greater” than the

  estimation that Galloway himself gave at his deposition. The jury is capable of hearing both

  estimations and determining for itself which estimation is greater. It is also capable of making



                                                   13
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 14 of 30 Pageid#: 2428




  its own determinations on the credibility of Guthorn and Galloway. The court will thus exclude

  Guthorn’s opinion 10.

         f. Opinions 12, 13, and 14

         Guthorn’s twelfth and fourteenth opinions state that if Galloway “lost sight” of Church’s

  truck before the accident, it was not because the truck was out of his available field of vision; the

  truck would have been visible to him the entire time. (Report of Paul Guthorn 12.) And

  Guthorn’s thirteenth opinion states that “once he elected to run the red light, Galloway and his

  . . . moped would have only been visible to Church in Church’s right side mirror for about four

  seconds when Galloway was approximately 80 to 110 feet back of the truck mirror and possibly

  for . . . approximately 2 seconds before the collision.” (Id.)

          Roberts argues that these opinions are inadmissible because Guthorn fails to provide the

  parameters he used for his purported fields of vision or indentify the facts he relied on in

  establishing them in his simulations. (Pl.’s First Mot. in Limine 23–24.) In fact, she notes, he

  fails to even identify what a field of vision is within the context of the opinions. (Id. at 23.) She

  further submits that it is “entirely unapparent what information . . . Guthorn relied on to reach”

  his conclusion that Galloway would have been visible in Church’s right side mirror for a few

  seconds, where another one of Sunbelt and Church’s experts opines that “Galloway would not

  have been visible in . . . Church’s mirrors, and where there exists no information about the

  location in which . . . Church’s mirrors were positioned during his turn.” (Pl.’s Reply Mem. in

  Supp. of First Motion in Limine 12–13, Dkt. No. 79.)

         Sunbelt and Church submit that Guthorn’s opinions 12, 13, and 14 are sufficiently

  supported and thus admissible. (Defs.’ Mem. in Opp’n to Pl.’s First Mot. in Limine 14.) They

  contend that in arguing to the contrary, Roberts ignores the evidence in the record. (Id. at 14–



                                                   14
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 15 of 30 Pageid#: 2429




  15.) For instance, they point out, one of Roberts’s experts provided illustrations showing what a

  commercial driver can and cannot see through his side mirrors while driving. (Id. at 15.)

  Moreover, Sunbelt and Church continue, Galloway testified at his deposition about the

  parameters of his field of vision at the time of the accident. (Id.) Based on these facts and data,

  Sunbelt and Church maintain, Guthorn was able to form his opinions on what Church and

  Galloway were each able see before the accident and to create the simulations showing their

  respective fields of vision. (Id.)

         The court agrees with Sunbelt and Church. The facts and data contained in the record are

  sufficient to support Guthorn’s opinions. Indeed, as Sunbelt and Church note, one of Roberts’s

  experts uses those facts and data to reach his own opinions as to what Church could and could

  not see through his right-side mirror before the accident. That Guthorn and Roberts’s expert

  reach different opinions does not make one expert’s opinions admissible and the other’s not. The

  same goes for the fact that another one of Sunbelt and Church’s experts disagrees with Guthorn.

  Roberts will have a chance to raise these differences of opinion at trial through cross-

  examination and contrary evidence; it will then be up to the jury to sort out which opinions are

  credible. Accordingly, the court will allow Guthorn’s opinions 12, 13, and 14.

                                                 * * *

         The court will deny Roberts’s motion to exclude Guthorn’s testimony based on the

  sufficiency of his report under Rule 26(a), and will grant in part and deny in part her motion to

  exclude him based on the admissibility of his opinions under Rule 702.

  B. Motion to Exclude Expert Jeff Clark’s Testimony

         Roberts also moves to exclude all or part of the testimony of Sunbelt and Church’s expert

  Jeff Clark. Clark is an expert on driving commercial motor vehicles. In his 10-page report, he



                                                   15
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 16 of 30 Pageid#: 2430




  offers various opinions on the propriety of Church’s and Galloway’s actions. (Report of Jeff

  Clark 3–10, Dkt. No. 61-2.) Among other things, he opines that Church exercised reasonable

  care in making the right turn into the gas station, but that Galloway did not in running the red

  light. (Id. at 5–8.) In reaching his opinions, Clark visited the place of the accident on December

  29, 2014. (Id. at 2.) During that visit, he drove Church’s truck, making the same right turn into

  the gas station that Church was making at the time of the accident. (Id.) Church rode along with

  Clark in the truck during the test.

         1. Reliability of Clark’s Testimony

         Roberts first attacks Clark’s testimony on reliability grounds. (Pl.’s First Mot. in Limine

  5–11.) She argues that it should be excluded in its entirety under Rule 702 as the product of an

  unreliable methodology. (Id.) She maintains that in testing Church’s right turn into the gas

  station, Clark failed to establish the necessary parameters, “such as where [Church’s] mirrors

  were located, what gears [Church] used, and what position [Church’s] seat was in.” (Id. at 7.) In

  addition, she submits, Clark was unable to determine from the security video which lane Church

  was in when he made the right turn. (Id.)

         Roberts further argues that Clark’s testimony is unreliable because he failed to accurately

  account for certain facts in forming them. (Id. at 8.) For instance, she notes, Clark

  misunderstood Church’s use of his mirrors before the accident. (Id.) In his report, Clark opines

  that Church properly checked his mirrors while “performing his right turn.” (Id.) At his

  deposition, however, Clark testified that Church really checked his mirrors “before starting to

  turn.” (Id.)

         Roberts also contends that Clark’s testimony is unreliable because it is contradicted by

  the testimony of one of Sunbelt and Church’s other experts—Guthorn. (Id. at 10–11.) For



                                                  16
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 17 of 30 Pageid#: 2431




  example, she points out that while Clark opines that Church’s mirrors were positioned so that

  Galloway would not have been visible, Guthorn’s simulations show that Galloway would have

  been visible for several seconds. (Id.)

         Lastly, Roberts argues that Clark’s testimony is unreliable because he ignored contrary

  facts. (Id. at 8.) In reaching his opinions, Clark relies on Church’s statement that Church used

  his turn signal when making the right turn into the gas station. (Id.) But, Roberts submits, three

  other witnesses did not see a turn signal, and no turn signal can be identified from the security

  video. (Id. at 9.) Nevertheless, Roberts contends, Clark provides no justification for rejecting

  these contrary facts. (Id.)

         In response, Sunbelt and Church assert that Clark’s testimony is reliable. (Defs.’ Mem.

  in Opp’n to Pl.’s First Mot. in Limine 5–7.) They first point out that Clark has extensive

  experience in the commercial driving field. (Id. at 5.) Indeed, he has trained commercial drivers

  on how to make turns similar to the one that Church was making at the time of the accident. (Id.)

  Sunbelt and Church also maintain that Clark’s testimony is based on sufficient facts and data,

  including the security video, witness depositions, discovery documents, an inspection of the

  place of the accident, and a test in Church’s truck. (Id. at 5–6.)

         As for Roberts’s criticism of Clark’s methodology, Sunbelt and Church contend that they

  go to the weight of Clark’s testimony, not its admissibility. (Id. at 6.) In fact, they submit that

  Roberts’s experts used a similar methodology in reaching their opinions. (Id. 6–7.) Sunbelt and

  Church further argue that all of the points Roberts “raises are with Clark’s conclusions, not the

  methodology he used,” which is not a proper basis for a challenge under Rule 702. (Id. at 7.)

         The court agrees with Sunbelt and Church. There can be no doubt that Clark is qualified

  to testify about the propriety of Church’s actions. And while Roberts raises some legitimate



                                                   17
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 18 of 30 Pageid#: 2432




  criticisms about the validity of Clark’s testimony, such as whether he gave proper consideration

  to all relevant facts, those criticisms go to the weight, not admissibility, of the testimony. She

  will have a chance to challenge the testimony at trial through cross-examination and contrary

  evidence from her experts, and then it will be for the jury to decide what, if any, weight to give

  the testimony. Accordingly, the court will not exclude Clark’s testimony on reliability grounds

  under Rule 702.

          2. Relevancy of Clark’s Testimony

          Roberts also attacks several of Clark’s opinions on relevancy grounds. (Pl.’s First Mot.

  in Limine 11–14.) The court first takes up the overarching opinion that she objects to and then

  addresses the specific opinions she challenges.

                  a. Opinion on Church’s Reliance on Red Light

          In concluding that Church’s actions were proper, Clark opines that it was appropriate for

  Church to rely on the red light behind him in making the right turn into the gas station. (Report

  of Jeff Clark 5–6, 10.) Roberts argues that this opinion is inadmissible because it will not assist

  the jury. (Pl.’s First Mot. in Limine 11.) According to Roberts, “[w]hether or not it was

  reasonable for [Church] to rely on the red light to control traffic is a matter within the common

  knowledge of the jury, and [thus] Clark’s purported expertise will not assist the trier of fact on

  this issue.” (Id. at 12)

          Sunbelt and Church counter that Clark’s opinion on Church’s reliance on the red light “is

  relevant to whether a commercial motor vehicle operator could rely on the red light to provide

  clearance to make his turn.” (Defs.’ Mem. in Opp’n to Pl.’s First Mot. in Limine 8.) “This issue,

  they continue, “requires special knowledge and training as to the standard of care for CDL

  drivers, making Clark’s testimony proper and admissible.” (Id. at 8.)



                                                    18
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 19 of 30 Pageid#: 2433




         The court agrees with Sunbelt and Church. While Clark noted at this deposition that

  commercial and noncommercial drivers alike must take into consideration their surroundings,

  including the status of traffic lights, while driving, that does not make his opinion on Church’s

  reliance on the red light here a matter of common knowledge. The court does not believe that

  the average person knows whether or under what circumstances it is appropriate for a driver of a

  commercial vehicle to use a red light in the manner that Church did in this case. That issue, then,

  is the proper subject of expert testimony. Accordingly, the court will allow Clark’s opinion on

  Church’s reliance on the red light.

                 b. Opinion 1

         Clark’s first opinion states, in relevant part, that “Church had an excellent work history

  with Sunbelt. (Report of Jeff Clark 3.) Roberts contends that this opinion is inadmissible

  character evidence. (Pl.’s First Mot. in Limine 12–13.) Sunbelt and Church respond that the

  opinion is relevant and admissible to explain why Clark believes that Church’s actions were

  proper. (Defs.’ Mem. in Opp’n to Pl.’s First Mot. in Limine 8.)

         The court agrees with Roberts. Federal Rule of Evidence 404(b) prohibits the admission

  of “[e]vidence of a crime, wrong, or other act . . . to show that on a particular occasion the person

  acted in accordance with the character.” Here, it is clear that Clark’s opinion about Church’s

  “excellent work history” is being offered to suggest that Church was acting in accordance with

  that character at the time of the accident. The court will thus exclude Clark’s opinion 1.

                 c. Opinion 2

         Clark’s second opinion states that “Church made the safest possible choice when

  determining which entrance to use to the [gas] station.” (Report of Jeff Clark 3.) Consistent

  with its prior ruling, the court will not allow this or any other opinion on whether Church chose



                                                   19
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 20 of 30 Pageid#: 2434




  the safest entrance into the gas station because under Virginia law, a driver’s choice of route is

  irrelevant: it is “only an antecedent circumstance—at most an independent remote cause of the

  mishap that measures up to nothing more than a mere ‘but for cause’ of the collision.” Long’s

  Baggage Transfer Co. v. Moore, 95 S.E.2d 221, 223 (Va. 1956.) The court will thus exclude

  Clark’s opinion 2.

                 d. Opinion 6

         Clark’s sixth opinion states that “[t]he accident was caused by Galloway’s own

  negligence and failure to comply with Virginia [Code §] 46.2-333,” which allows a driver of a

  moped to go through a red light only under limited conditions. (Report of Jeff Clark 6.) Roberts

  contends that this opinion is inadmissible because Clark lacks the requisite qualifications to

  opine on the propriety of Galloway’s actions and what effect, if any, they had on the accident.

  (Pl.’s First Mot. to Dismiss 13.) In particular, she notes, Clark is not an expert on mopeds or an

  expert on accident reconstruction. (Id.) Nor, she continues, is he qualified to testify as to what

  constitutes a violation of Virginia law. (Id.)

         In response, Sunbelt and Church contend that Clark’s opinion 6 is admissible. (Defs.’

  Mem. in Opp’n to Pl.’s First Mot in Limine 8.) While they agree that Clark cannot testify that

  Galloway was contributorily negligence, they submit that Clark can testify about the effect that

  Galloway’s red light had on Church’s decision to make the right turn as he did. (Id.) According

  to Sunbelt and Church, Clark’s opinion simply explains “why, in the context of the turn that

  Church was making and how a prudent commercial motor vehicle operator might approach the

  turn into the parking lot, including relying on the red light to control traffic behind him and

  ensure that he has sufficient space to complete the turn.” (Id.)




                                                   20
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 21 of 30 Pageid#: 2435




         The court agrees with Roberts. Clark is not qualified to testify about the propriety of

  Galloway’s actions or about the effect, if any, those actions had on the accident. Further, he is

  not qualified to testify about the law that is applicable to drivers of mopeds or about Galloway’s

  compliance or noncompliance with that law. Nor would it be proper for him to do so even if he

  had the necessary qualifications.

         As explained above, however, the court agrees with Sunbelt and Roberts that Clark can

  testify about what role, if any, a red light plays in a commercial driver’s decision to make a right

  turn in the manner that Church did here. That opinion is set forth elsewhere in Clark’s report.

         The court will therefore exclude Clark’s opinion 6.

                 e. Opinion 9

         Clark’s ninth opinion states that “Church’s answer in his deposition that he does not

  ‘remember no specific 20 points of knowledge’ listed in the Federal Motor Carrier Safety

  Regulations is not at all probative or indicative of his knowledge as a CDL driver.” (Report of

  Jeff Clark 8.) Consistent with its earlier ruling, the court will not allow this or any other opinion

  on the 20 points of knowledge because they do not provide the applicable standard of care here

  and are thus irrelevant. Accordingly, the court will exclude Clark’s opinion 9.

                 f. Opinions 11 and 13

         Clark’s eleventh opinion states that “Church was not required to submit to a post-accident

  drug or alcohol test under the applicable federal regulations.” (Report of Jeff Clark 9.) And

  Clark’s thirteenth opinion states that “[t]here is no evidence that Church was fatigued at the time

  of the accident or that fatigue played any role in the accident. The presence of caffeine packets

  is not evidence of fatigue.” (Id.)




                                                   21
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 22 of 30 Pageid#: 2436




          Roberts contends that these opinions are inadmissible because they involve matters of

  common knowledge. (Pl.’s First Mot. in Limine 14.) Further, she submits that Clark lacks the

  necessary qualifications to opine on what evidence is relevant to show a commercial driver’s

  fatigue. (Id. at 15.)

          Sunbelt and Church respond that Clark’s opinions 11 and 13 are conditionally relevant.

  (Defs.’ Mem. in Opp’n to Pl.’s First Mot in Limine 9.) Though Roberts has withdrawn her

  experts’ opinions on drug testing and hours of service, she has not confirmed that she will not

  offer evidence or argument on those matters at trial. So Sunbelt and Church maintain that they

  may need Clark’s opinions in rebuttal. (Id.)

          Because Clark’s opinions 11 and 13 appear to be no longer relevant to any issue in the

  case, the court will exclude them. Of course, should Roberts present evidence on drug testing or

  hours of service at trial, then the court will revisit the admissibility of Clark’s opinions on those

  matters.

                                                      * * *

          The court will grant Roberts’s motion to exclude Clark’s testimony in part and deny it in

  part.

  C. Motion to Exclude Certain Testimony from the Underwoods

          Roberts next moves to exclude any testimony from the Underwoods about what they saw

  Galloway do before he reached the intersection of Route 11 and Pactiv Way on the day of the

  accident. (Pl.’s Third Mot. in Limine 12, Dkt. No 63.) The Underwoods first saw Galloway that

  day at the preceding intersection. At that time, they claim that he cut them off, blew his horn,

  and gave them the finger. Roberts contends that this testimony “should be prohibited as




                                                    22
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 23 of 30 Pageid#: 2437




  impermissible character evidence” (id.) or as “highly prejudicial” (Pl.’s Reply Mem. in Supp. of

  Third Mot. in Limine 11, Dkt. No. 81).

          Sunbelt and Church respond that the Underwoods’ testimony is admissible substitutive

  and impeachment evidence. (Defs.’ Mem. in Opp’n to Pl.’s Third Mot. in Limine 18, Dkt. No.

  71.) They argue that the testimony shows that Galloway was driving dangerously on the day of

  the accident and rebuts his claim that he was not. (Id.) They also submit that the testimony may

  be needed to rehabilitate the Underwoods if Roberts tries to impeach them by showing that they

  were not paying close enough attention to their surroundings before the accident. According to

  Sunbelt and Church, the testimony explains why the Underwoods were focused on Galloway

  before the accident. (Id.)

          As noted above, Rule 404(b) prohibits the admission of “[e]vidence of a crime, wrong, or

  other act . . . to show that on a particular occasion the person acted in accordance with the

  character.” But such evidence is not per se inadmissible. It may be used for other “purpose[s],

  such as proving motive, opportunity, intent, preparation, plan, knowledge, identity, absence of

  mistake, or lack of accident.” Fed. R. Evid. 404(b). “Rule 404(b) is an inclusionary rule,

  allowing evidence of other crimes or acts to be admitted, except that which tends to prove only

  criminal disposition.” United States v. Penniegraft, 641 F.3d 566, 574 (4th Cir. 2011).

          For evidence of a crime, wrong, or other act to be admissible, it must be relevant to an

  issue other than the person’s character, necessary, and reliable. Id. And “the probative value of

  the evidence must not be substantially outweighed by its prejudicial effect.” Id.; see also Fed. R.

  Evid. R. 403 (“The court may exclude relevant evidence if its probative value is substantially

  outweighed by a danger of . . . unfair prejudice . . . .”).




                                                     23
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 24 of 30 Pageid#: 2438




         The Underwoods’ testimony is relevant to Sunbelt and Church’s contributory-negligence

  defense: it tends to make the fact that Galloway was driving dangerously at the time of the

  accident more probable than not. Sunbelt and Church submit that Galloway saw Church’s truck

  as it was turning, but nevertheless tried to pass it. That Galloway was driving aggressively

  immediately before the accident by cutting the Underwoods off lends support to Sunbelt and

  Church’s claim. It would be a different case if the Underwoods had seen Galloway drive

  dangerously weeks, days, or even hours before the time of the accident. See Sparks v. Gilley

  Trucking Co., 992 F.2d 50, 52–53 (4th Cir. 1993) (holding that evidence of the plaintiff’s prior

  convictions for speeding was inadmissible under Rule 404(b) because it did not tend to prove

  that the plaintiff was speeding at the time of the accident at issue). Or if they had seen him

  driving dangerously miles before the place of the accident. The proximity in time and place

  makes all the difference here.

         Even so, the probative value of the Underwoods’ testimony may be outweighed by its

  prejudicial effect on Roberts. The court, however, is unable to make that determination now

  based on the parties’ submissions. It needs more context. It will thus deny Roberts’s motion to

  exclude the Underwoods’ testimony without prejudice. She may renew the motion at the

  appropriate time during trial.

  D. Motion for Judicial Notice of Motor-Vehicle Statutes, Regulations, and Manuals

         Finally, Roberts moves for judicial notice of all or part of the following motor-vehicle

  statutes, regulations, and manuals: Virginia Code §§ 46.2-100, -804, -841, -846, -848; the

  Federal Motor Carrier Safety Regulations (FMCSR), 49 C.F.R. §§ 383.91, 383.111, 383.113,

  392.2; and the Virginia and West Virginia commercial driver’s manuals. (Pl.’s Second Mot. in

  Limine 2–9, Dkt. No. 62.) She argues that these materials are relevant to the applicable standard



                                                   24
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 25 of 30 Pageid#: 2439




  of care and that they are generally known and can be accurately and readily determined from

  sources whose accuracy cannot reasonably be questioned. (Id. at 4, 8–9.) Accordingly, she

  maintains, the court must take judicial notice of the materials under 44 U.S.C. § 1507 or Federal

  Rule of Evidence 201. (Id. at 2, 4, 8–9.)

            In response, Sunbelt and Church contend that the court should not take judicial notice of

  the statutes or manuals as presented because they are incomplete and because they “‘remain

  subject to reasonable dispute’ to the extent [Roberts] proffers [them] as evidence of the standard

  of care or Church’s violation thereof.” (Defs.’ Mem. in Opp’n to Pl.’s Second Mot. in Limine 3,

  Dkt. No. 70.) Judicial notice of the statutes and manuals would also be improper, Sunbelt and

  Church continue, because it is for the court, and not the parties, to instruct the jury on the

  applicable law. (Id. at 4–5.) Lastly, Sunbelt and Church submit that the regulations are not

  relevant. (Id. at 8–10.)

            Pursuant to § 1507, a trial “court may take judicial notice of provisions of the Code of

  Federal Regulations.” Crimm v. Mo. Pac. R. Co., 750 F.2d 703, 710 (8th Cir. 1984). And under

  Rule 201, a trial court may take judicial notice of an adjudicative fact that is not subject to

  reasonable dispute because it “(1) is generally known within the trial court’s territorial

  jurisdiction; or (2) can be accurately and readily determined from sources whose accuracy cannot

  reasonably be questioned.” Fed. R. Evid. 201(a)–(b). The trial court “must take judicial notice if

  a party requests it and the court is supplied with the necessary information.” Fed. R. Evid.

  201(c).

            As an initial matter, the court does not think that Rule 201 applies to Roberts’s motion.

  She seeks judicial notice of statutes and regulations or summaries of statutes and regulations (the

  manuals). Such materials are not adjudicative facts—facts of the particular case. Fed. R. Evid.



                                                    25
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 26 of 30 Pageid#: 2440




  201(a) advisory committee’s note to 1972 proposed rules. Rather, they are legislative facts—

  facts that do not change from case to case, but instead apply to all cases. Id.; see also United

  States v. Williams, 442 F.3d 1259, 1261 (10th Cir. 2006) (“Statutes are considered legislative

  facts—established truths, facts or pronouncements that do not change from case to case but apply

  universally.” (internal quotation marks and citation omitted)), cited with approval in United

  States v. Gavegnano, 305 F. App’x 954, 956 (4th Cir. 2009). Hence, Roberts’s motion falls

  outside the scope of Rule 201.

           Nevertheless, a trial court has the authority to take judicial notice of legislative facts.

  Williams, 442 F.3d at 1261; Crimm, 750 F.2d at 710. But those facts must still be relevant to the

  case at hand. Ebersole v. Kline-Perry, No. 1:12-cv-26, 2012 U.S. Dist. LEXIS 93193, at *16

  (E.D. Va. July 5, 2012); see also United States v. Wolny, 133 F.3d 758, 765 (10th Cir. 1998)

  (“We cannot imagine that, in enacting § 1507, Congress intended to override [Federal Rule of

  Evidence 402], and make judicial notice mandatory, when a matter that appeared in the Federal

  Register is irrelevant to the proceeding at hand.”).

           Here, it is clear that one of the regulations that Roberts wants judicially noticed—

  § 383.111 of the FMCSR—is irrelevant. That section addresses 20 points of knowledge on

  which state agencies must train and test operators of commercial motor vehicles. It does not

  provide the applicable standard of care here. The court will therefore deny Roberts’s motion as

  to § 383.111.

           As for the other materials that Roberts wants judicially noticed, the court lacks sufficient

  context to determine their relevancy. With respect to those materials, then, the court will deny

  Roberts’s motion without prejudice. She may renew the motion at the appropriate time during

  trial.



                                                     26
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 27 of 30 Pageid#: 2441




                             III. SUNBELT AND CHURCH’S MOTION

         Sunbelt and Church move to exclude the testimony of Roberts’s expert Scott Turner.

  (Defs.’ Mem. in Supp. of Mot. in Limine 7, Dkt. No. 59.) Turner is an expert in commercial

  motor-vehicle accidents. In this case, he opines that Church acted recklessly when he swung left

  in making the right turn into the gas station. (Report of Scott Turner 24–25.) During his

  deposition, though, Turner conceded that making such a maneuver is not always improper:

                Q        Is there ever an instance when . . . it’s acceptable for a truck driver
         to [swing left] in making a right turn?

                 A        If he has a spotter behind him—if he is running a heavy load and
         he has got a spotter behind him that’s able to hold off—it it’s a long heavy load,
         all right, long combination vehicle or something to that effect and you have some
         type of spotter behind you, if your hauling a crane, if you’re hauling a large track
         how, and you need to obviously swing wide in order to . . . make that turn, then of
         course. If you have a spotter vehicle behind you, then it would be acceptable, if
         that spotter vehicle was capable of holding up traffic or a state trooper or local
         PD, et cetera.

                  Q        So just so I understand you, as long as circumstances are such that
         traffic is restricted from entering your area and you can . . . safely make that
         maneuver. Is that what you’re saying?

                 A      Yes, sir.

  (Scott Turner Dep. 82–83, Dkt. No. 59-5.)

         In reaching his opinions on the propriety of Church’s actions, Tuner did not consider the

  effect that Galloway’s running of the red light may have had on the accident because, as he

  explained at his deposition, he thought that it went beyond the parameters of his assignment as

  an expert:

                Q     Isn’t it true that Mr. Galloway violated the traffic safety laws that
         governed how he was to proceed at [the intersection of Route 11 and Pactiv
         Way]?

                 A      I would believe so.



                                                   27
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 28 of 30 Pageid#: 2442




                    ....

                Q       You would agree that had Mr. Galloway waited 10 to 15 seconds
         longer before entering the intersection this accident wouldn’t have happened?

                  A       Well, I look at these two issues of what occurred and the violation
         of the traffic light as being mutually exclusive. . . . [M]y assignment is to examine
         the commercial motor vehicle operator, what he did right, what he did wrong. All
         right?

                  These two issues here as far as I am concerned from my opinion’s
         standpoint is they are mutually exclusive of each other. So what [Galloway] did
         at that point in time at the traffic light, sure, it’s a violation. It is a totally separate
         issue. . . . [A]t the time of the crash, he had every right to be where he was.

  (Id. at 67–68.)

         Sunbelt and Church argue that Turner’s failure to consider the effect of Galloway’s

  actions before the accident makes his testimony on the propriety of Church’s actions unreliable

  and thus inadmissible under Rule 702. (Defs.’ Reply Mem. in Supp. of Mot in Limine 5–7, Dkt.

  No. 86) In Sunbelt and Church’s view, Galloway’s running of the red light is a “crucial

  variable” in determining whether Church exercised reasonable care under the circumstances

  because, as Turner acknowledged, a commercial driver may swing left in making a right turn if

  traffic is restricted behind him. (Id. at 5–6.) Accordingly, Sunbelt and Church contend, Tuner

  should have considered Galloway’s running of the red light in reaching his opinion on the

  propriety of Church’s swinging left in making the right turn into the gas station, and that his

  failure to do so renders his testimony unreliable. (Id. at 6–7.)

         Roberts counters that Turner’s testimony is reliable. (Pl.’s Mem. in Opp’n to Defs.’ Mot.

  in Limine 11, Dkt. No. 68.) She first clarifies that he was not retained to opine on the cause of

  the accident; he was retained to opine on the propriety of Church’s actions. (Id. at 12.) Thus,

  she submits, Turner was not required to consider and rule out all alternative causes of the




                                                     28
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 29 of 30 Pageid#: 2443




  accident, such as Galloway’s running of the red light, as were the experts in the cases that

  Sunbelt and Church rely on in support of their motion. (Id. at 12–14.)

         Next, Roberts contends that Turner did consider all relevant variables in arriving at his

  opinion. (Id. at 12.) His report, she notes, “includes evidence of [Galloway’s] activities at the

  stop light, his movement through the intersection, and his path toward the collision with

  [Church’s] truck.” (Id.) Hence, she continues, this is not a case “where an expert deliberately

  ignored evidence in favor of other evidence that is more advantageous to his position.” (Id. at

  13.)

         Finally, Roberts argues that, contrary to Sunbelt and Church’s insinuation, Turner did not

  suggest at his deposition that a red light may be enough of a restriction on traffic for a

  commercial driver to swing left in making a right turn. (Id. at 14.) Rather, he made clear that

  “only the presence of a spotter or law enforcement could provide” a sufficient control on traffic

  to make such a maneuver proper. (Id. 15.)

         The court believes that Turner’s testimony is admissible under Rule 702. There is no

  question that he is qualified to testify on the propriety of Church’s actions or that his testimony is

  relevant. The only question is whether his testimony is reliable. Though Sunbelt and Church

  raise a legitimate question about the validity of Turner’s testimony—in particular, whether he

  gave proper consideration to Galloway’s running of the red light—that question goes to the

  weight, not the admissibility, of the testimony. Sunbelt and Church will have an opportunity to

  challenge Turner’s testimony at trial not only through cross-examination, but also through the

  testimony of their own experts, Guthorn and Clark; it will then be up to the jury to decide what,

  if any, weight to give Turner’s testimony. The court is confident that the jury will be able to see




                                                   29
Case 5:14-cv-00040-EKD-JCH Document 96 Filed 03/30/16 Page 30 of 30 Pageid#: 2444




  whatever shortcomings may exist in Turner’s testimony, or, for that matter, in the testimony of

  any other expert.

         The court will therefore deny Sunbelt and Church’s motion to exclude Turner’s

  testimony.

                                         IV. CONCLUSION

         For the foregoing reasons, the court will grant Roberts’s motion to exclude Guthorn’s

  testimony in part and deny it in part, grant her motion to exclude Clark’s testimony in part and

  deny it in part, deny her motion to exclude the Underwoods’ testimony, and deny her motion for

  judicial notice. The court will also deny Sunbelt and Church’s motion to exclude Turner’s

  testimony.

         These and the court’s prior rulings on the parties’ motions will be memorialized in an

  appropriate order to follow.

         Entered: March 30, 2016.



                                               /s/ Elizabeth K. Dillon
                                               Elizabeth K. Dillon
                                               United States District Judge




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